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       HOLLYWOOD, L.L.C.
  7

  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10

 11
       SUNNY KHACHATRYAN, AN              Case No. 2:23-cv-10829
 12    INDIVIDUAL; TATEVIK
       KHACHATRYAN, AN INDIVIDUAL; NOTICE OF MOTION AND
 13    B.A.J., A MINOR; AND I.M., A       MOTION TO COMPEL
       MINOR,                             PLAINTIFFS’ DISCOVERY
 14                                       RESPONSES AND THE
                              Plaintiffs, DEPOSITION OF PLAINTIFF
 15                                       SUNNY KHACHATRYAN
            v.
 16
       1 HOTEL WEST HOLLYWOOD,                    Discovery Cut-Off: 11/25/2024
 17    L.L.C.,                                    Pre-Trial Conference: 4/7/2025
                                                  Trial: 4/29/2025
 18                               Defendant.      Hearing Date: 9/13/2024
                                                  Time: 9:30 a.m.
 19
 20
            TO THE HONORABLE COURT, ALL PATIES, AND THEIR
 21
      ATTORNEYS OF RECORD:
 22
            PLEASE TAKE NOTICE that on September 13, 2024 at 9:30 a.m., or as soon
 23
      thereafter as the matter may be heard in the above-mentioned Court located at 255
 24
      East Temple Street, Los Angeles, CA 90012, Defendant 1 Hotel West Hollywood,
 25
      LLC (“1 Hotel”) will and hereby does respectfully move for an order to compel
 26
      Plaintiffs to provide: (1) proper Rule 26 damages calculation; (2) substantive
 27
      responses to all interrogatories; (3) all documents responsive to 1 Hotel’s requests
 28
                                                1                  CASE NO.: 2:23-CV-10829
        NOTICE OF MOTION AND MOTION TO COMPEL PLAINTIFFS’ DISCOVERY RESPONSES AND THE
                          DEPOSITION OF PLAINTIFF SUNNY KHACHATRYAN
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  1   for production, and (4) Sunny Khachatryan to sit for a discovery deposition. This
  2   motion is necessary because after discovery was served and extensive meet and
  3   confer requests were ignored, Plaintiffs have failed to produce highly relevant
  4   documents and information. 1 Hotel seeks an order compelling Plaintiff to meet her
  5   discovery obligations.
  6         1 Hotel made multiple attempts to meet and confer prior to the filing of this
  7   motion pursuant to C.D. Cal. Local Rule 37-1 and Fed. R. Civ. P. 37 and as set forth
  8   in the Declaration of Myriah V. Jaworski, filed contemporaneously herewith, but
  9   Plaintiffs never met with 1 Hotel. Plaintiffs have not produced documents or
 10   answered interrogatories relevant to their claims and 1 Hotel’s defenses.
 11         This Motion is based upon this Notice of Motion, the Memorandum in
 12   Support of this Motion, the Declaration of Myriah V. Jaworski, all pleadings and
 13   papers on file in this action, and upon such other evidence and argument as may be
 14   presented to the Court at the time of the hearing.
 15

 16
      Dated: August 19, 2024                 CLARK HILL PLC
 17

 18
                                             By: s/ Myriah V. Jaworski
 19                                              Myriah V. Jaworski
 20                                              Attorneys for Defendant 1 HOTEL WEST
                                                 HOLLYWOOD, L.L.C.
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                                                2                  CASE NO.: 2:23-CV-10829
        NOTICE OF MOTION AND MOTION TO COMPEL PLAINTIFFS’ DISCOVERY RESPONSES AND THE
                          DEPOSITION OF PLAINTIFF SUNNY KHACHATRYAN
